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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                     CASE NO.: 23-cv-22376

  THE SMILEY COMPANY SPRL,

         Plaintiff,
  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                            /

       NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

  counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against the following

  Defendants:

         Blacksparrowuk (Defendant No. 74 on Schedule A to the Complaint),

         CreativeHeartSpace ((Defendant No. 132 on Schedule A to the Complaint),

         DigitalsByNiamh (Defendant No. 184 on Schedule A to the Complaint),

         EvilEyeJewelryGB (Defendant No. 233 on Schedule A to the Complaint),

         GooberStudioPrints (Defendant No. 264 on Schedule A to the Complaint),

         LeAmeria (Defendant No. 364 on Schedule A to the Complaint),

         LeReineCo (Defendant No. 373 on Schedule A to the Complaint),

         LittleGlintDesign (Defendant No. 385 on Schedule A to the Complaint),

         MlssSupplies (Defendant No. 444 on Schedule A to the Complaint),

         MoshiMoshiUK (Defendant No. 450 on Schedule A to the Complaint),



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        NicoTangUK (Defendant No. 481 on Schedule A to the Complaint),

        skcjewelryDesign (Defendant No. 624 on Schedule A to the Complaint),

        TATTOODAY (Defendant No. 687 on Schedule A to the Complaint), and

        WorldThreeStudio (Defendant No. 763 on Schedule A to the Complaint).

  Date: August 16, 2023                    Respectfully submitted by,

                                           Javier Sobrado
                                           Javier Sobrado (Fla. Bar No. 44992)
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